Case 9:21-cr-80039-RLR Document 227 Entered on FLSD Docket 07/12/2024 Page 1 of 4




                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 21-80039-CR-ROSENBERG

  UNITED STATES OF AMERICA,
      Plaintiff,

  v.

  SUZANNE KAYE,
      Defendant.
                                                 /

        MOTION TO MODIFY CONDITIONS OF SUPERVISED RELEASE

       The Defendant, Suzanne Kaye, by and through her undersigned counsel hereby

 files this motion to amend the conditions of supervised release in the above styled case.

 As grounds in support of this motion, she states the following:

       1.      On February 17, 2021, Suzanne Kaye made her initial appearance for

 one count of making a threat in violation of 18 U.S.C. § 875(c), and on April 21, 2021

 this Court suspended drug testing because she used prescription medical marijuana to

 control her seizures. D.E. 5, 22. Mrs. Kaye was convicted at trial and served an 18

 month prison sentence. She is now on supervised release.

       2.      Since her release from prison, Mrs. Kaye has been in regular

 communication with Heath Shur, her assigned United States Probation Officer

 (USPO), including regularly answering phone calls and appearing for drug tests as

 instructed.

       3.      Mrs. Kaye lives with her son and grandchildren. She remains disabled,

 but she assists in helping her family where she is able.

       4.      As the Court is aware, Mrs. Kaye suffers from a serious seizure disorder.

                                             1
Case 9:21-cr-80039-RLR Document 227 Entered on FLSD Docket 07/12/2024 Page 2 of 4



 While she was incarcerated, she was prescribed various pharmaceuticals that did not

 prevent emergency hospitalizations and intubations. Mrs. Kaye also previously

 suffered in a coma when pharmaceuticals failed to control her seizures.

       5.       On June 17, 2024, Mrs. Kaye met with a medical doctor and was

 prescribed medical marijuana for her “Epilepsy and Post-Traumatic Stress Disorder.”

 Mrs. Kaye is a “qualified patient” under Florida law and has been prescribed medical

 marijuana. 1

       6.       Mrs. Kaye is waiting for Court approval to begin treating her disorders

 with medical marijuana. She is in compliance with her other terms of supervised

 release.

       7.       United States Probation Officer Shur advised that he does not object to

 this motion because Mrs. Kaye requests the marijuana for a medical reason approved

 by a doctor and she was compliant and successful during her pretrial release.

       8.       Other courts in this district have also made this adjustment to

 supervised release conditions. For example, Judge Bloom granted the use of medical

 marijuana in United States v. Keshaun Reeves, No 19-CR-60011, Paperless Order

 Granting Motion to Modify Conditions of Release (October 18, 2023) (“The Court

 modifies the conditions of Defendant's supervised release to remove the special

 condition of drug testing for marijuana and cannabinoids.”) and United States v. Alex

 Lubo, No. 18-CR-60208, Judgement upon Violation of Supervised Release (October 18,

 2019) (“The condition of drug testing shall no longer be a special condition.”)


 1 “(m) ‘Qualified patient’ means a resident of this state who has been added to the

 medical marijuana use registry by a qualified physician to receive marijuana or a
 marijuana delivery device for a medical use and who has a qualified patient
 identification card.” Fla. Stat. § 381.986(1)(m)
                                              2 (2023).
Case 9:21-cr-80039-RLR Document 227 Entered on FLSD Docket 07/12/2024 Page 3 of 4



       9.       Similarly, in United States v. Santiago Salcedo, Judge Altonaga added a

 condition of supervised release requiring that, “The Defendant shall obtain a medical

 marijuana card within the next 60 days. During this time, the United States Probation

 Office shall not test the Defendant for marijuana use.” United States v. Santiago

 Salcedo, No. 14-20286-CR-Altonaga, Judgement and Commitment upon Revocation of

 Supervised Release, D.E. 1377 (April 25, 2023).

       10.      In United States v. Jean St. Cloud, Judge Cooke instructed the USPO to

 not alert the court for any positive tests for marijuana as these results would not

 constitute a violation of supervision conditions. This decision was based on the

 defendant’s health and possession of a medical marijuana card. United States v. Jean

 St. Cloud, No. 19-20846-CR-Cooke (May 20, 2020).

       11.      Defense counsel reached out to AUSA Mark Dispoto who objects to this

  motion.

       WHEREFORE, the Defendant, Suzanne Kaye, respectfully requests this Court modify

 the conditions of her supervised release to remove the special condition of drug testing for

 marijuana and cannabinoids.

                                          Respectfully submitted,

                                          HECTOR A. DOPICO
                                          Interim Federal Public Defender
                                          s/ Kristy Militello
                                          Kristy Militello
                                          Assistant Federal Public Defender
                                          Attorney for the Defendant
                                          Florida Bar No. 0056366
                                          250 South Australian Avenue, Suite 400
                                          West Palm Beach, Florida 33401
                                          (561) 833-6288 - Telephone
                                          Kristy_Militello@fd.org


                                              3
Case 9:21-cr-80039-RLR Document 227 Entered on FLSD Docket 07/12/2024 Page 4 of 4



                              CERTIFICATE OF SERVICE

       I hereby certify that on July 12, 2024, I electronically filed the foregoing

 document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

 document is being served this day on all counsel of record via transmission of Notices

 of Electronic Filing generated by CM/ECF or in some other authorized manner for those

 counsel or parties who are not authorized to receive electronically Notices of Electronic

 Filing.

                                         s/ Kristy Militello
                                         Kristy Militello




                                            4
